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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION



IN RE GEORGIA SENATE BILL 202                MASTER CASE NO.
                                             1:21-MI-55555-JPB
THE CONCERNED BLACK CLERGY
OF METROPOLITAN ATLANTA,
INC., et al.,
       Plaintiffs,                           Case No. 1:21-CV-01728-JPB

v.

BRAD RAFFENSPERGER, in his
official capacity as the Georgia Secretary
of State, et al.,

       Defendants,

THE REPUBLICAN NATIONAL
COMMITTEE; et al.,

       Intervenor-Defendants.



     PLAINTIFFS’ RULE 5.4 NOTICE OF CERTIFICATE OF SERVICE

      Pursuant to Local Rules 5.4 and 26.3(A), Plaintiffs the Concerned Black

Clergy of Metropolitan Atlanta, Inc., The Justice Initiative, Inc., Metropolitan

Atlanta Baptist Ministers Union, Inc, First Congregational Church, United Church

of Christ Incorporated, Georgia Latino Alliance for Human Rights, Inc., Faith in



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Action Network, Greater Works Ministries Network, Inc., and Exousia Lighthouse

International C.M., Inc., by and through their counsel of record, hereby certify that

on February 10, 2023, Plaintiffs’ fourth production (CBC-000000399 - CBC-

000000442) was served via email upon all parties’ counsel of record.


                                             Respectfully submitted,

                                             /s/ William Tucker

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                                             *Admitted pro hac vice

                                             Counsel for Plaintiffs The Concerned
                                             Black Clergy of Metropolitan Atlanta,
                                             Inc., The Justice Initiative, Inc.,
                                             Metropolitan Atlanta Baptist Ministers
                                             Union, Inc., First Congregational
                                             Church, United Church of Christ Inc.,
                                             Georgia Latino Alliance for Human
                                             Rights, Inc., Faith in Action Network,
                                             Greater Works Ministries Network,
                                             Inc., and Exousia Lighthouse
                                             International C.M., Inc.




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the foregoing

Rule 5.4 Notice of Certificate of Service has been prepared in Times New Roman

14, a font and type selection approved by the Court in L.R. 5.1(B).


      Dated: February 10, 2023
                                                          /s/ William Tucker
                                                             William Tucker




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                          CERTIFICATE OF SERVICE

      I hereby certify that on February 10, 2023, I electronically filed this

document with the Clerk of Court using CM/ECF system which will automatically

send email notification of such filing to the attorneys of record in this matter.


      Dated: February 10, 2023
                                                             /s/ William Tucker
                                                                William Tucker




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